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TED WEATHERFORD, JUDGMENT IN A CIVIL CASE
Plaintiff,

v.

CITY OF MEMPHIS, CASE NO: 03-2756 Ml/P

MEMPHIS POLICE DEPARTMENT,
OFFICER J.M. OWEN and
OFFICER DWAYNE D. TRAKUL,

Defendants.

 

JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED,r ADJUDGED, AND DECREED that, in
accordance with the Order Granting Defendant City of Memphis'
Motion to Dismiss, entered October, l, 2004, and Order Granting
Defendant Officers J.M. Owens and Dwayne D. Trakul's Motion to
Dismiss and/or in the Alternative for Summary Judgment and Order
Remanding Plaintiff's Remaining State Law Claims, entered October
l, 2004, this case is DISMISSED.

APPROVED:

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JO P. MCCALLA
TED STATES DISTRICT JUDGE

 

 

 

 

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DATE Clerk of Court
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This notice confirms a copy cf the document docketed as number 59 in
case 2:03-CV-02756 Was distributed by faX, mail, or direct printing on
April 25, 2005 to the parties listed.

 

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Honorable Jon McCalla
US DISTRICT COURT

